              Case 19-11466-MFW                Doc 4267-1        Filed 09/14/22         Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11
In re:
                                                                Case No.: 19-11466 (MFW)
CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL,                                  (Jointly Administered)
et al.,1
                                                               Objections Due: October 5, 2022 at 4:00 p.m. ET
                                    Debtors.

       NOTICE OF THIRTY SIXTH MONTHLY FEE APPLICATION OF FOX
    ROTHSCHILD LLP FOR SERVICES RENDERED AND REIMBURSEMENT OF
    EXPENSES AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
    CREDITORS FOR THE PERIOD AUGUST 1, 2022 THROUGH AUGUST 31, 2022

         PLEASE TAKE NOTICE THAT on September 14, 2022, Fox Rothschild LLP (“Fox

Rothschild”), as counsel to the Official Committee of Unsecured Creditors (the “Committee”) of

the above-captioned debtors and debtors-in-possession (the “Debtors”), filed the Thirty Sixth

Monthly Fee Application of Fox Rothschild LLP for Compensation for Services Rendered and

Reimbursement of Expenses as Counsel to the Official Committee of Unsecured Creditors for the

Period from August 1, 2022 through August 31, 2022 (the “Application”).

         PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Court’s Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses of Professionals, entered

August 2, 2019 [D.I. 341] (the “Interim Compensation Order”), objections, if any, to the

Application must be filed with the Clerk of the United States Bankruptcy Court for the District of




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), St Chris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.




137909852.1
              Case 19-11466-MFW       Doc 4267-1      Filed 09/14/22      Page 2 of 3




Delaware, 824 North Market Street, Wilmington, DE 19801, and be served so as to be received

by the following parties by no later than October 5, 2022, at 4:00 p.m. (prevailing Eastern time),

(the “Objection Deadline”): (a) the Debtors, Center City Healthcare, LLC, 216 North Broad

Street, 4th Fl. Philadelphia, PA 19102; (b) Counsel to the Debtors, Saul Ewing Arnstein & Lehr

LLP, 1201 North Market Street, Suite 2300, Wilmington, DE 19801 (Attn: Mark Minuti, Esq.

[mark.minuti@saul.com] and Monique B. DiSabatino, Esq. [monique.disabatino@saul.com) and

1500 Market Street, 38th Floor, Philadelphia, PA 19102 (Attn: Jeffrey Hampton, Esq.

[jeffrey.hampton@saul.com] and Adam H. Isenberg, Esq. [adam.isenberg@saul.com]); (c)

Counsel to the Committee, Sills Cummis & Gross P.C., The Legal Center, One Riverfront Plaza,

Newark, NJ 07102 (Attn: Andrew H. Sherman, Esq. [asherman@sillscummis.com] and Boris I.

Mankovetskiy, Esq. [bmankovetskiy@sillscummis.com]) and Fox Rothschild LLP, 919 N.

Market Street, Suite 300, Wilmington, DE 19899-2323 (Attn: Seth A. Niederman

[sniederman@foxrothschild.com]); (d) the Office of the United States Trustee, District of

Delaware, 844 N. King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801 (Attn: Benjamin

A. Hackman, Esq. [benjamin.a.hackman@usdoj.gov]); and (e) Counsel to the DIP Agent,

Stradley, Ronon, Stevens, & Young, LLP, 2005 Market Street, Suite 2600, Philadelphia, PA

19103 (Attn: Gretchen M. Santamour, Esq. [gsantamour@stradley.com]) and 1000 N. West

Street, Suite 1279, Wilmington, DE 19801 (Attn: Joelle E. Polesky, Esq.

[jpolesky@stradley.com]).

        PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Interim Compensation

Order, upon expiration of the Objection Deadline, if a Notice of Objection has not been served

with respect to the Application, Fox Rothschild may file a certificate of no objection (a “CNO”)

with the Court with respect to the unopposed portion of the fees and expenses requested in its


                                                2
137909852.1
              Case 19-11466-MFW       Doc 4267-1      Filed 09/14/22    Page 3 of 3




Monthly Fee Application. After a CNO is filed, the Debtors are authorized and directed to pay

Fox Rothschild an amount the “Actual Monthly Payment”) equal to 80 percent of the fees and

100 percent of the expenses requested in the applicable Monthly Fee Application (the

“Maximum Monthly Payment”). If a Notice of Objection is timely filed and received and

remains unresolved, the Debtors are authorized and directed to pay Fox Rothschild an amount

(the “Reduced Monthly Payment”) equal to the lesser of (i) the Maximum Monthly Payment and

(ii) 80% of fees and 100% of the expenses not subject to a Notice of Objection.

  Dated: September 14, 2022                    FOX ROTHSCHILD LLP

                                               /s/ Seth A. Niederman
                                               Seth A. Niederman (DE No. 4588)
                                               919 North Market Street, Suite 300
                                               Wilmington, DE 19899-2323
                                               Telephone: (302) 654-7444
                                               Facsimile: (302) 656-8920
                                               E-mail: sniederman@foxrothschild.com

                                               Counsel to the Official Committee of
                                               Unsecured Creditors




                                               3
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